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z. PF.RSON REPRESF.NTED
Bialr, Jerry

 

\’()UCHER NUMBER

 

 

3. MAG. DK"i`./DEF. NUMBF,R 4. DIS'T. DKT.!DFIF. NL'MBER

2:04-020072-00]

5. A[’I’EA[,S DKT.II)F.F. NUMBER 6. ()TIIER DKT. NUMBER

 

1. ns cnsm-mTTBR 0F 11. PAYMENT CATEGQRY
U.S. v. Biair Felony

(Case Namc)

 

9.TYP1; PF,RSGN RF.PRESENTEI)
Aduit Dci`endant

ii]. REP RESEN']`ATION TYPE
(See lnstruetions)

Motion to Corrcct Or Reduc

 

 

 

.()FFENSE(S) Cli ARGED (Cite U. S. Codc, Title & Scctinl\)

ll'more than one offense list (up to ilve) major oiTm!es charged according to stvcritv ol’oi`|'cnse.

11i) 13 2252A. F -- Activities relating 10 material constituting

or containin g child pornography

 

  
 

 

 

 

 

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12. AT T()Ri\'FY'S NAME (Fi.rst Nlme. M.l., Last Name, including anyl sui'iix) 13. COURT ORDER "c"j'\
AND MA'LING ADDRESS 0 Appnlmlng Counsel ij C CrrCounsol
Scl']reine¢'J S[effen G ij F Subs Fur Federa| Deiender i:i R Subs For Retaino§j'ttarney 34
369 N Main Ci P Subs For PnneiAttarne)' i:i Y Stand`uv Cnunse| `f\'j .. y
Mcmphis TN 38103 Prior Attorney's i\'ame: (__3
Appn|ntment Date: /; /
i:i |leeause the above- named person represented has testified under oat`|i o'\" has fo
otherwise satisl'ted this court that he or she (l]` ls Hnancia|lv unable le empiov cathiieland ’d
Tl,h.phmw ;\»umm.r._ (90 i) 527-5000 [l) does not wish to waive counse|, and because the interests nfjusl|ee so req¢rii"e,` the" ..)‘
` attorney whose name appears i.n Item 1215 appnmfl!_d ltl,}£lll'¢i¢l\l fhl! PC"W'l"w;.*iii,$:iia 111 c
i4. NA.\‘H; AND MAFLING ADDRESS UF LAW FlRM (only provide per instructions) or \' -, ! \ :§_,, `\-/\ L/ '
ij Other (Se p…/x\(/ \`T_\ 62
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Signéture u|` Preisiriing .ludieial Ofi`leer or ky Order of the Court

m'/m/mn-i 5/‘{/05¢/‘

i)ate oi'-[erer .'\‘unc Pro Tulw Dale

Rt~payment or partial repayment ordered from the person represented i`or this str\'ice at
time o[uppn|ntment. m YES g NO

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

representetion'.' § YES ij NO lives give details on additional sheets.
l swear or affirm the truth or correctness nfthe above statements.

_ 11 ' `_ LAIM`FGRSERWCES mo EXRENSES `; '.j ii‘i)@eputt"r‘lfs`§oro.\"` ';
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15. a. Arraignment andfor Piea
b. Baii and Detention Hearings
c. Motion Hearings
:, d. Trial
C e. Sentencing Hearings
3 f. Revocation Hearings
f g. Appeals Court
h. Other (Specii`y on additional sheets)
(Ruie per hour =S ) TOTALS:
lo. a. Interviews and Conferences
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§ (Rate per hour = S ) TOTA]_,S:
17. Travei Expenses {lodging, parking, meals, mileagc, etc.)
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i9. CERTIF|CA'HON OF ATTURNEY/I‘AYEE FOR THE FERIOD 0 F SERVICE 20. APPO|NTME!\`T TERMI!\'ATION DATE 21. C.ASE D[SPO SITION
FRUM m tr oTuER THAN CASE CGMPLF.T|()N
12. CLAIM STATL'S ij F1n111’1ym¢111 [] lemon P1ymcm\\'umber _,,_ \'_°lsuppnnwmal Poymem
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Other then [rnl'n the courc. hate you or toyour knowledge has anyone else received payment (eompensatinn or anything or value) from unv other source in connection with this

Dnte:

 

signature ol`Attnrney:

 

 

  

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23. iN COURT C(JMP. 24. ()UT OF CDURT C()MP.

25. TRAVEL EXPENSES

26. OTHER EXPENSF.S 27. ToTALAMT./trrR/CERT

 

 

 

 

 

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28. SIGNATURE OF TH|‘§ PRESH)[NG JUE)[CIAL OFFICER DATE ZBa. JL|DGE f MAG, JUDGE COI)E
19. lN COU|lT COMP. 301 (JU'I` ()F COURT COMP. 3l. TRAVEL EX[’F,NSES 32. ()THER F.XPENSF.S 33. T()'l'AL AMT. n?PROVl-;D
34. SIGNATURE OF CH[EF JUI)GE COURT OF Al’l’ EALS (OR DELEGATE) Pn;,mem DATE 34a. .iL'[)GE CODE

 

 

 

 

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UNITED s`T"RATEDIsTIC COURT - WESTERN D's'TRCT oFTENNESSEE

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Honorabie J on McCaiia
US DISTRICT COURT

